                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CARO LIA
                         SOUTHERN DIVISION
                           IN ADMIRALTY
                                   7:21-CV-00 135-D


KELLI S. BARNES AND                            )
CHRISTOPHER C. SMITH,                          )
ADMINISTRATORS                                 )
OF THE ESTATE OF GARRETT SMITH,                )
DECEASED,                                      )
               Plaintiffs,                     )      ENTRY OF DEFAULT
                                               )
½.                                             )
                                               )
                                               )
MATTHEW FERSTER, JUSTIN SPIVEY,                )
TRAVIS REED SUGGS, AND PAMELA                  )
SUGGS                                          )
              Defendants.                      )

      It appearing to the Court that Defendant Pamela Suggs has failed to plead or

are otherwise subject to default judgment;

      It further appearing to the Court that Plaintiffs are entitled to Entry of

Default;

      IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that

default is hereby entered against Defendant Pamela Suggs.

      This the   f   day of October, 2021.




                                  Peter A Moore, Jr., Clerk
                                  U.S. District Court for the
                                  North Carolina




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